Case 2:22-cv-09094-GW-MAR Document 625 Filed 08/31/23 Page 1 of 5 Page ID #:19003




    1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
      RENA ANDOH (admitted Pro Hac Vice)
    2  randoh@sheppardmullin.com
      30 Rockefeller Plaza
    3 New York, NY 10112
      Telephone: 212.653.8700
    4 Facsimile: 212.653.8701
    5 LAI L. YIP, (Cal. Bar No. 258029)
       lyip@sheppardmullin.com
    6 Four Embarcadero Center, 17th Floor
      San Francisco, CA 94111
    7 Telephone: 415.434.9100
      Facsimile: 415.434.3947
    8
      TRAVIS J. ANDERSON, (Cal. Bar No. 265540)
    9  tanderson@sheppardmullin.com
      12275 El Camino Real, Suite 100
   10 San Diego, CA 92130
      Telephone: 858.720.8900
   11 Facsimile: 858.509.3691
   12 KAZIM A. NAQVI, (Cal. Bar No. 300438)
       knaqvi@sheppardmullin.com
   13 1901 Avenue of the Stars, Suite 1600
      Los Angeles, CA 90067-6055
   14 Telephone: 310.228.3700
      Facsimile: 310.228.3701
   15
      Attorneys for Plaintiff and Counter-Defendant
   16 MOOG, INC.
   17
   18                              UNITED STATES DISTRICT COURT
   19                            CENTRAL DISTRICT OF CALIFORNIA
   20 MOOG, INC.,                                 Case No. 2:22-cv-09094-GW-MAR
   21                     Plaintiff,              Honorable George H. Wu
   22            v.                               PROOF OF SERVICE
   23 SKYRYSE, INC., ROBERT ALIN
      PILKINGTON, MISOOK KIM, and
   24 DOES NOS. 1-50,
   25                     Defendants.
   26
   27
   28

                                                -1-            Case No. 2:22-cv-09094-GW-MAR
        SMRH:4892-0936-7421.1                                              PROOF OF SERVICE
Case 2:22-cv-09094-GW-MAR Document 625 Filed 08/31/23 Page 2 of 5 Page ID #:19004




    1
        SKYRYSE, INC.,
    2
                          Counter-Claimant,
    3
                 v.
    4
        MOOG, INC.,
    5
                          Counter-Defendant.
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                               -2-          Case No. 2:22-cv-09094-GW-MAR
        SMRH:4892-0936-7421.1                                           PROOF OF SERVICE
        -D
Case 2:22-cv-09094-GW-MAR Document 625 Filed 08/31/23 Page 3 of 5 Page ID #:19005




    1                                PROOF OF SERVICE
    2        At the time of service, I was over 18 years of age and not a party to this
      action. I am employed in the County of Los Angeles, State of California. My
    3 business address is 1901 Avenue of the Stars, Suite 1600, Los Angeles, CA 90067-
      6055.
    4
             On August 31, 2023, I caused a true copy of the following document(s)
    5 described as:
    6       1. [SEALED] DECLARATION OF KAZIM A. NAQVI IN SUPPORT OF
               MOOG’S APPLICATION FOR LEAVE TO FILE UNDER SEAL
    7
               DESIGNATED MATERIALS FROM ITS AMENDED TRADE
    8          SECRET IDENTIFICATION
    9       2. [SEALED] MOOG’S AMENDED TRADE SECRET IDENTIFICATION
   10          (NON-CUI)
   11       3. [SEALED] EXHIBITS 1-2 TO MOOG’S AMENDED TRADE SECRET
               IDENTIFICATION (NON-CUI)
   12
   13       4. [SEALED] MOOG’S AMENDED TRADE SECRET IDENTIFICATION
               (CUI)
   14
            5. [SEALED] EXHIBIT A TO MOOG’S AMENDED TRADE SECRET
   15
               DENTIFICATION (CUI)
   16
        to be served in the following manner:
   17
                                   BY ELECTRONIC MAIL
   18
            The above-described document(s) were transmitted via electronic mail to the
   19 following party participants pursuant to written consent under Federal Rule of Civil
      Procedure 5(b)(2)(E) on August 31, 2023:
   20
                              SEE ATTACHED SERVICE LIST
   21
            I declare under penalty of perjury under the laws of the United States of
   22 America that the foregoing is true and correct and that I am employed in the office
      of a member of the bar of this Court at whose direction the service was made.
   23
            Executed on August 31, 2023, at Los Angeles, California.
   24
   25
                                                       /s/ Kazim A. Naqvi
   26                                                      Kazim A. Naqvi
   27
   28

                                                -3-              Case No. 2:22-cv-09094-GW-MAR
        SMRH:4892-0936-7421.1                                                PROOF OF SERVICE
Case 2:22-cv-09094-GW-MAR Document 625 Filed 08/31/23 Page 4 of 5 Page ID #:19006




    1                                       SERVICE LIST
    2                           U.S.D.C. – Case No. 2:22-cv-09094-GW-MAR
    3        LATHAM & WATKINS LLP                     Attorneys for Defendant and Counter-
             140 Scott Drive                          Claimant SKYRYSE, INC.
    4        Menlo Park, CA 94025
             Phone:       650.328.4600
    5        Fax:         650.463.2600
             Douglas E. Lumish
    6        Email:       doug.lumish@lw.com
             Gabriel S. Gross
    7        Email:       gabe.gross@lw.com
             Joseph H, Lee
    8        Email:       joseph.lee@lw.com
             Arman Zahoory
    9        Email:       arman.zahoory@lw.com
             Ryan T. Banks
   10        Email:       ryan.banks@lw.com
             Kelley M. Storey
   11        Email:       kelley.storey@lw.com
             Cassandra M. Baloga
   12        Email:       cassandra.baloga@lw.com
             Julianna C. Osborne
   13        Email:       julianne.bruaer@lw.com
   14        HODGSON RUSS LLP                         Admitted Pro Hac Vice for Plaintiff,
             Guaranty Building                        MOOG, INC.
   15        140 Pearl Street, Suite 100
             Buffalo, NY 14202
   16        Phone:       716.848.1688
             Fax:         716.849.0349
   17        Robert J. Fluskey, Jr.
             Email: rfluskey@hodgsonruss.com
   18
             HALPERN MAY YBARRA                       Attorneys for Defendant MISOOK KIM
   19        GELBERG LLP
   20        Grant B. Gelberg
             Kevin H. Scott
   21        Catherine H. Thompson
   22        Alyssa L. Titche
             550 South Hope Street, Suite 2330
   23        Los Angeles, CA 90071
   24        Phone: (213) 402-1900
             Fax: (213) 402-1901
   25        Email:
   26        grant.gelberg@halpernmay.com
             Kevin.scott@halpernmay.com
   27        Catherine.thompson@halpernmay.com
   28        Alyssa.titche@halpernmay.com

                                                    -4-              Case No. 2:22-cv-09094-GW-MAR
        SMRH:4892-0936-7421.1                                                    PROOF OF SERVICE
        -D
Case 2:22-cv-09094-GW-MAR Document 625 Filed 08/31/23 Page 5 of 5 Page ID #:19007




    1        ZWEIBACK FISET AND                   Attorneys for Defendant ROBERT ALIN
             ZALDUENDO LLP                        PILKINGTON
    2
             Scott D. Tenley
    3        Rachel L. Fiset
             315 West 9th Street, Suite 1200
    4
             Los Angeles, CA 90015
    5        Phone: (213) 266-5170
             Fax: (213) 289-4025
    6
             Email: scott.tenly@zfzlaw.com
    7                 Rachel.fiset@zfzlaw.com
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                -5-            Case No. 2:22-cv-09094-GW-MAR
        SMRH:4892-0936-7421.1                                              PROOF OF SERVICE
        -D
